Dear Auditor Montee:
This office received your letter of January 6, 2009, submitting a fiscal note and fiscal note summary prepared under Section 116.175, RSMo, for an initiative petition (version 3b) submitted by Ron Calzone regarding a proposed constitutional amendment related to Article I. The fiscal note summary that you submitted is as follows:
  The total cost or savings to state or local governmental entities is unknown. Most state governmental entities estimate no costs, however, some state governmental entities may have indirect costs or unknown costs that may exceed $100,000. Estimated costs, if any, to local governmental entities could be significant.
Under Section 116.175, we approve the legal content and form of the fiscal note summary. Because our review of the fiscal note summary is mandated by statute, no action that we take with respect to such review should be construed as an endorsement of the petition or as the expression of any view regarding the objectives of its proponents.
Very truly yours,
_________________
Chris Koster
Attorney General *Page 1 